                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA



BROIDY CAPITAL MANAGEMENT, LLC and              Civil Action No. 1:19-cv-00150-DLF
ELLIOTT BROIDY,
                    Plaintiffs,

       v.

NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC,
                      Defendants.

    DEFENDANTS’ JOINT REPLY MEMORANDUM IN SUPPORT OF MOTION
   TO DISMISS THE FIRST AMENDED COMPLAINT ON IMMUNITY GROUNDS


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                                                    TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 2

I.        Broidy Conflates Derivative Sovereign Immunity with Foreign Official
          Immunity. ............................................................................................................................ 2

          A.         Derivative Foreign Sovereign Immunity Applies to Contractors and
                     Private Agents—Like Defendants Here—Acting at the Direction of the
                     Foreign Sovereign. .................................................................................................. 3

          B.         Foreign Official Immunity Applies to Foreign Officials Acting in Their
                     Official Capacity. .................................................................................................. 10

II.       The Case Should Be Dismissed in Its Entirety under the Doctrine of Derivative
          Foreign Sovereign Immunity. ........................................................................................... 14

III.      Even If This Court Does Not Apply Derivative Sovereign Immunity, Defendants
          Are Entitled to Foreign Official Immunity. ...................................................................... 15

          A.         Foreign Official Immunity Can Apply to U.S. Citizens Acting as Agents
                     of a Foreign Sovereign. ......................................................................................... 16

          B.         If There Was Any Need To Apply Foreign Official Immunity, the State
                     Department’s Two-Factor Test Should Apply, Not the Restatement’s
                     Three-Factor Test. ................................................................................................. 17

          C.         Pursuant to Broidy’s Own Allegations, Defendants Satisfy the Two-Factor
                     Test for Foreign Official Immunity. ..................................................................... 19

          D.         Even If § 66 of the Restatement Applies, Defendants Satisfy the Third
                     Factor. ................................................................................................................... 20

CONCLUSION ............................................................................................................................. 23




                                                                       ii
                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

ABI Jaoudi & Azar Trading Corp. v. Cigna Worldwide Ins. Co.,
   No. 91-6785, 2016 WL 3959078 (E.D. Pa. July 22, 2016) .....................................................16

Agudas Chasidei Chabad of U.S. v. Russian Fed’n,
   528 F.3d 934 (D.C. Cir. 2008) .................................................................................................15

Al Shimari v. CACI Premier Tech., Inc.,
    368 F. Supp. 3d 935 (E.D. Va. 2019) ......................................................................................12

* Alicog v. Kingdom of Saudi Arabia,
    860 F. Supp. 379 (S.D. Tex. 1994), aff’d, 79 F.3d 1145 (5th Cir. 1996) ........................ passim

Belhas v. Ya’alon,
   515 F.3d 1279 (D.C. Cir. 2008) ....................................................................................... passim

* Butters v. Vance Int’l, Inc.,
   225 F.3d 462 (4th Cir. 2000) ........................................................................................... passim

Campbell-Ewald Co. v. Gomez,
  136 S. Ct. 663 (2016) .............................................................................................................4, 5

Chuidian v. Philippine Nat’l Bank,
   912 F.2d 1095 (9th Cir. 1990) .........................................................................................7, 8, 14

Cunningham v. Gen. Dynamics Info. Tech., Inc.,
   888 F.3d 640 (4th Cir. 2018) .....................................................................................................9

* Doe I v. Buratai,
   318 F. Supp. 3d 218 (D.C. Cir. 2018) .............................................................................. passim

Dogan v. Barak,
   No. 15-813, 2016 WL 6024416 (C.D. Cal. Oct. 13, 2016)......................................................19

Dole Food Co. v. Patrickson,
   538 U.S. 468 (2003) .............................................................................................................4, 14

Eliahu v. Jewish Agency for Isr.,
    919 F.3d 709 (2d Cir. 2019)...............................................................................................13, 19

Farhang v. Indian Inst. of Tech.,
   655 F. App’x 569 (9th Cir. 2016) ............................................................................................19



                                                                   iii
Foremost-McKesson, Inc. v. Islamic Republic of Iran,
   905 F.2d 438 (D.C. Cir. 1990) .................................................................................................22

Greenspan v. Crosbie,
   No. 74-4734, 1976 WL 841 (S.D.N.Y. Nov. 23, 1976) ...........................................................12

Ivey for Carolina Golf Dev. Co. v. Lynch,
    No. 17-439, 2018 WL 3764264 (M.D.N.C. Aug. 8, 2018)........................................5, 9, 11, 16

In re KBR, Inc., Burn Pit Litig.,
    744 F.3d 326 (4th Cir. 2014) ...................................................................................................12

Lewis v. Mutond,
   918 F.3d 142 (D.C. Cir. 2019) ......................................................................................... passim

MacArthur Area Citizens Ass’n v. Republic of Peru,
  809 F.2d 918 (D.C. Cir. 1987) .................................................................................................14

Matar v. Dichter,
   563 F.3d 9 (2d Cir. 2009)...................................................................................................18, 19

Moriah v. Bank of China Ltd.,
  107 F. Supp. 3d 272 (S.D.N.Y. 2015)............................................................................9, 11, 22

In re OPM Data Sec. Breach Litig.,
    266 F. Supp. 3d 1 (D.D.C. 2017) ...............................................................................................5

Persinger v. Islamic Republic of Iran,
   729 F.2d 835 (D.C. Cir. 1984) .................................................................................................14

Pine View Gardens, Inc. v. Mut. of Omaha Ins. Co.,
   485 F.2d 1073 (D.C. Cir. 1973) .................................................................................................5

Rosenberg et al. v. Lashkar-E-Taiba et al.,
   Civ. No. 1:10-cv-05381-DLI-CLP (E.D.N.Y. Dec. 17, 2012), ECF No. 35 ...........................19

Ruddell v. Triple Canopy, Inc.,
   No. 15-1331, 2016 WL 4529951 (E.D. Va. Aug. 29, 2016)................................................4, 12

Samantar v. Yousuf,
   560 U.S. 305 (2010) ......................................................................................................... passim

Scott v. J.P. Morgan Chase & Co.,
   296 F. Supp. 3d 98 (D.D.C. 2017) .........................................................................................3, 5

Smith v. Ghana Comm. Bank, Ltd.,
   No. 10-4655, 2012 WL 2930462 (D. Minn. June 18, 2012)....................................................13



                                                                  iv
In re Totten Metrorail Cases,
    895 F. Supp. 2d 48 (D.D.C. 2012) .............................................................................................5

Velasco v. Gov’t of Indon.,
   370 F.3d 392 (4th Cir. 2004) .....................................................................................................7

Warfaa v. Ali,
  811 F.3d 653 (4th Cir. 2016) .....................................................................................................8

Yearsley v. W.A. Ross Constr. Co.,
   309 U.S. 18 (1940) .............................................................................................................5, 6, 7

Yousuf v. Samantar,
   552 F.3d 371 (4th Cir. 2009) .....................................................................................................8

Yousuf v. Samantar,
   699 F.3d 763 (4th Cir. 2012) ........................................................................................... passim

Statutes

Torture Victim Protection Act of 1991, Pub. L. 102–256, 106 Stat. 73 (1992) ................10, 18, 21




                                                                    v
       Defendants Nicolas D. Muzin, Stonington Strategies LLC (“Stonington” and, collectively

with Muzin, the “Stonington Defendants”), Joseph Allaham, and Gregory Howard (together

“Defendants”) respectfully submit this Reply Memorandum in further support of their motions to

dismiss the First Amended Complaint (“Complaint” or “FAC”), filed by Plaintiffs Broidy Capital

Management LLC and Elliott Broidy (together “Broidy”), pursuant to Rule 12(b)(1) of the Federal

Rules of Civil Procedure.

                                        INTRODUCTION

       Broidy’s 135-page Opposition Brief (“Opp.”) confirms that his claims are utterly baseless.

This is merely the latest in a string of lawsuits seeking to deflect attention away from his own legal

troubles with unfounded claims that he was a victim of an elaborate cyberespionage campaign

orchestrated and directed by the State of Qatar (“Qatar”). The operative complaint in this case is

Broidy’s fifth bite at the apple, but it remains as deficient as each prior iteration. Specifically, as

discussed in painstaking detail in the contemporaneously filed Joint Reply Memorandum In

Support of Motion to Dismiss the First Amended Complaint For Failure to State a Claim, Broidy

still has not alleged any factual basis to conclude that Defendants (1) accessed his computers,

(2) received or distributed information obtained from his computers, or (3) entered into an

agreement with anyone else—including Qatar—to facilitate such actions. These fundamental

flaws doom each of Broidy’s thirteen causes of action.

       But there is no need for this Court even to address Broidy’s 90-plus pages of briefing on

the merits of his claims because this entire case should be dismissed with prejudice on the basis of

derivative sovereign immunity. As discussed in more detail herein, Broidy does not challenge

Qatar’s immunity and does not dispute that his own allegations demonstrate that Defendants at all

relevant times were contractors and/or private agents acting at the direction of, and for the benefit

of, Qatar. Indeed, Broidy does not take issue with Defendants’ characterization of his allegations,
does not request jurisdictional discovery, and does not make any substantive argument that

Defendants acted without Qatar’s direction.

       Instead, as the Court recognized in its June 17 Minute Order, Broidy raises a purely legal

challenge arguing that there is no independent doctrine of derivative sovereign immunity and that

under the D.C. Circuit’s decision in Lewis v. Mutond, 918 F.3d 142 (D.C. Cir. 2019), Defendants

do not qualify for foreign official immunity. But Broidy misreads the case law—derivative foreign

sovereign immunity and foreign official immunity are distinct doctrines. Defendants are entitled

to derivative sovereign immunity exactly because they were, according to Broidy, acting at the

direction of Qatar. And even if foreign official immunity did apply here, Defendants would still

be immune under that doctrine. As a result, the case should be dismissed with prejudice.

                                          ARGUMENT

I.     BROIDY CONFLATES DERIVATIVE SOVEREIGN IMMUNITY                  WITH   FOREIGN OFFICIAL
       IMMUNITY.

       Broidy concedes—as he must—that he alleges Defendants acted at the direction of and for

the benefit of Qatar. In fact, as explained in the Stonington Defendants’ opening brief, Broidy’s

entire case is premised on alleging that Defendants acted at Qatar’s behest. Opening Br. at 21-26.

Under the doctrine of derivative sovereign immunity—which is the doctrine invoked by

Defendants—Broidy’s concession is dispositive. See Butters v. Vance Int’l, Inc., 225 F.3d 462

(4th Cir. 2000); Alicog v. Kingdom of Saudi Arabia, 860 F. Supp. 379, 381 (S.D. Tex. 1994), aff’d,

79 F.3d 1145 (5th Cir. 1996).

       With no viable response to Defendants’ derivative sovereign immunity arguments, Broidy

contends that there is no separate doctrine of derivative sovereign immunity, and that Defendants

cannot satisfy the doctrine of foreign official immunity. But Broidy either ignores or misinterprets

circuit court decisions establishing that derivative sovereign and foreign official immunity are


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different doctrines with different purposes and different elements. Derivative sovereign immunity

is a common law doctrine that cloaks contractors and private agents of a foreign sovereign—

including U.S. citizens—with the sovereign’s immunity for actions taken at the sovereign’s

direction and with its approval. It applies only where the sovereign itself is immune from suit and

is limited to actions taken at the sovereign’s direction. Foreign official immunity, on the other

hand, is a separate basis for public ministers, officials, and agents of foreign sovereigns to obtain

immunity for actions taken in their official capacities. Foreign official immunity is not necessarily

coextensive with the sovereign’s immunity and can exist even where the sovereign is not immune.

As Defendants argued in their opening brief, the doctrine of derivative foreign sovereign immunity

is alive, well, and applicable to Defendants here.

       A.      Derivative Foreign Sovereign Immunity Applies to Contractors and Private
               Agents—Like Defendants Here—Acting at the Direction of the Foreign
               Sovereign.

       The common law doctrine of derivative foreign sovereign immunity is an extension of the

well-established common law doctrine of derivative sovereign immunity that is applied to

contractors and private agents of the United States. See Butters, 225 F.3d at 466. The doctrine

“exists because it is in the public interest to protect the exercise of certain governmental functions

. . . [even] when the government delegates that function down the chain of command.” Id.; see

also Scott v. J.P. Morgan Chase & Co., 296 F. Supp. 3d 98, 107 (D.D.C. 2017) (finding that a

contractor or private agent “who acts at the behest of a sovereign entity becomes imbued with

some of the sovereign’s immunity”). As the Fourth Circuit explained:

       It is but a small step to extend th[e] privilege [of derivative sovereign immunity] to the
       private agents of foreign governments. All sovereigns need flexibility to hire private agents
       to aid them in conducting their governmental functions. This is especially true for foreign
       sovereigns given their lack of human resources while operating within the United States.




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Butters, 225 F.3d at 466 (emphasis added). As such, the doctrine applies to American contractors

and agents. See id. at 467 (holding an American contractor immune from suit for actions taken at

the behest of the Saudi government); Alicog, 860 F. Supp. at 381. A holding otherwise would

“discourage American companies from entering lawful agreements with foreign governments and

from respecting their wishes even as to sovereign acts.” Butters, 225 F.3d at 466.

        Derivative sovereign immunity developed because, by necessity, governments act through

individuals, and the actions of the individuals directed by the state are functionally the actions of

the state itself. See Ruddell v. Triple Canopy, Inc., No. 15-1331, 2016 WL 4529951, at *5 (E.D.

Va. Aug. 29, 2016) (“Derivative sovereign immunity exists because the government and its

contractors have the same interest in getting the Government’s work done.” (quoting Boyle v.

United Techs. Corp., 487 U.S. 500, 506 (1988))). Subjecting an individual who is carrying out a

government directive to liability would “directly impede the significant governmental interest in

the completion of its work,” forming an end-run around the sovereign’s immunity. Butters, 225

F.3d at 466. In fact, allowing the government to be held liable through its contractors and private

agents when it could not be held liable directly would contravene the entire purpose of recognizing

immunity in the first instance. See Dole Food Co. v. Patrickson, 538 U.S. 468, 479 (2003)

(“Foreign sovereign immunity . . . is meant to . . . give foreign states . . . some protection from the

inconvenience of suit . . . .”).

        To be sure, derivative sovereign immunity is not absolute. Only actions authorized and

directed by the sovereign are eligible for protection. See Campbell-Ewald Co. v. Gomez, 136 S.

Ct. 663, 674 (2016) (declining to find derivative immunity because “the current record reveals no

basis for arguing that [the contractor seeking immunity] complied with the Navy’s instructions”).

But, in the narrow instance where—as here—the alleged acts of which a plaintiff complains were



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performed pursuant to the sovereign’s direction, the actor who carried out the sovereign’s

directives is entitled to immunity. See Butters, 225 F.3d at 466-67 (finding derivative immunity

because Saudi Arabia, not the American corporate defendant, made the decision at issue); Alicog,

860 F. Supp. at 384 (no liability for repeating the prince’s commands); Ivey for Carolina Golf Dev.

Co. v. Lynch, No. 17-439, 2018 WL 3764264 at *7 (M.D.N.C. Aug. 8, 2018) (U.S. citizen found

derivatively immune under Butters for “conduct [taken] at the direction of” a foreign official); see

also New York Litigation, Dkt. 61-2 at 44:20–24 (“To allow plaintiffs to sue Benomar would be to

allow a suit for conduct that plaintiffs claim was actually committed by the sovereign or that

Benomar committed at the sovereign’s direction and on the sovereign’s behalf.” (emphasis

added)).1

       The Fourth Circuit’s decision in Butters is instructive. There, the court held that a U.S.

security contractor was immune from suit for employment discrimination because Saudi Arabia



1
  The doctrine of derivative sovereign immunity as it applies domestically dates back to the
Supreme Court’s 1940 decision in Yearsley. Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18
(1940). Courts in this circuit have had ample occasions to explore its contours. See, e.g., In re
OPM Data Sec. Breach Litig., 266 F. Supp. 3d 1, 50 (D.D.C. 2017) (dismissing claims against
government contractor on derivative sovereign immunity grounds); see also Pine View Gardens,
Inc. v. Mut. of Omaha Ins. Co., 485 F.2d 1073, 1074-75 (D.C. Cir. 1973) (dismissing contract
claim against government agent on immunity grounds). That the doctrine has not been frequently
satisfied in this circuit, see, e.g., Scott, 296 F. Supp. 3d 98, only underscores the fact that it is a
narrow doctrine, the application of which to foreign sovereigns is “but a small step” that will not
result in a host of rulings protecting contractors of foreign governments. Butters, 225 F.3d at 466.

       Broidy wrongly suggests that Campbell-Ewald calls into question the validity of derivative
immunity. Opp. at 39. In fact, the case confirms the existence of derivative sovereign immunity
and merely recognizes that contractors do not enjoy the absolute immunity available to the states,
only limited immunity for specific acts taken at the state’s direction and with its approval.
Campbell-Ewald, 136 S. Ct. at 674. Defendants are not claiming that they are entitled to absolute
immunity from suit for all causes by virtue of their relationships with Qatar, they are claiming
immunity for the actions that Broidy claims they took at Qatar’s direction and on its behalf. See
Opening Br. at 25. Judge Walton’s decision in In re Totten Metrorail Cases, 895 F. Supp. 2d 48
(D.D.C. 2012)—which Broidy contends questions the existence of derivative sovereign immunity,
Opp. at 40 n.156—was issued before Campbell-Ewald revalidated the doctrine once and for all.
                                                  5
expressly forbade the contractor from promoting the plaintiff because she was female. Butters,

225 F.3d at 466. In reaching that conclusion, the court first determined that Saudi Arabia was

immune under the FSIA. Id. at 465. The court then found—drawing upon cases finding derivative

immunity for contractors of the United States government, see, e.g., Yearsley, 309 U.S. at 20-21—

that “[i]f [the U.S. contractor] was following Saudi Arabia’s orders not to promote [the plaintiff],

[the U.S. contractor] would be entitled to derivative immunity”—as opposed to direct statutory

immunity—“under the FSIA.” Butters, 225 F.3d at 466 (emphasis added). Finally, the Fourth

Circuit found that Saudi Arabia—and not the American contractor—made the decision not to

promote the plaintiff, such that the immunity applied. The court concluded:

       FSIA immunity presupposes a tolerance for the sovereign decisions of other countries that
       may reflect legal norms and cultural values quite different from our own. Here Saudi
       Arabia made a decision to protect a member of its royal family in a manner consistent with
       Islamic law and custom. The Act requires not that we approve of the diverse cultural or
       political motivations that may underlie another sovereign’s acts, but that we respect them.

Id. at 467 (emphasis added). Therefore, the actions of the American contractor—which were

effectively the actions of Saudi Arabia, carried out by a private agent—were immune.

       In a decision affirmed by the Fifth Circuit, the Southern District of Texas reached a similar

conclusion in Alicog. There, Prince Saad of Saudi Arabia hired two brothers from Texas—Majid

and Salim Afifi—to assist him with making travel arrangements, including arranging security, for

a trip to Houston. At the prince’s direction, the Afifis directed the security contractor to prevent

two employees of the royal family from leaving the hotel. Those employees brought suit against

the royal family and the Afifis alleging that they were falsely imprisoned. The court found the

Afifis immune as they simply carried out the prince’s orders and “did not knowingly participate in

a wrong separate from the acts of the Saudi Consul.” See Alicog, 860 F. Supp. at 381.

       Although Butters and Alicog are directly on point, Broidy pays short shrift to Butters and



                                                 6
completely ignores Alicog.     According to Broidy, Butters simply interpreted the FSIA—as

opposed to applying common law—and thus was overruled by Samantar v. Yousuf, 560 U.S. 305

(2010), which held that the definition of “foreign state” in the FSIA does not include foreign

officials. Opp. at 38. But nothing in the Butters opinion, its subsequent treatment, or Samantar

supports Broidy’s reading.

       Foremost, the Butters court plainly evaluated whether a company was entitled to

“derivative FSIA immunity,” not direct protection under the statute itself. Butters, 225 F.3d at 465

(emphasis added). Indeed, nowhere does the Fourth Circuit interpret that statutory language to

conclude that the term “foreign state” as used in the FSIA covers American contractors. Had that

been the Fourth Circuit’s reasoning, there would have been no reason to go further and look to

common law principles of derivative sovereign immunity. Yet that is exactly what Butters does,

relying on cases such as Alicog and Yearsley to determine whether recognizing an immunity

derived from Saudi Arabia’s immunity, but not itself grounded in the FSIA, would be appropriate.

Butters, 225 F.3d at 466. It does not rely on cases applying a broad reading of the FSIA’s direct

application. Contra Chuidian v. Philippine Nat’l Bank, 912 F.2d 1095, 1099 (9th Cir. 1990)

(reading FSIA definition of “foreign state” to encompass individuals). Not surprisingly, then, the

Fourth Circuit has not read Butters the way Broidy does, instead characterizing Butters as

reflecting a “narrow, judicially-created expansion of foreign sovereign immunity.” Velasco v.

Gov’t of Indon., 370 F.3d 392, 399 (4th Cir. 2004) (emphasis added).

       Butters is thus nothing like Samantar—which considered the separate question of whether

the FSIA’s definition of “foreign state” can be read to cover a foreign official acting in that

capacity, 560 U.S. at 319—and was therefore not overruled by that case. Indeed, the Supreme

Court expressly left open the question of whether Samantar specifically might be entitled to



                                                 7
immunity under the common law. Id. at 325-26 (“We emphasize, however, the narrowness of our

holding. Whether petitioner may be entitled to immunity under the common law [should] be

addressed in the first instance by the District Court on remand.”). And Butters’ continued validity

as a common law doctrine is apparent from its subsequent history. Butters was decided by the

Fourth Circuit in 2000. Id. at 462. Yousuf v. Samantar—the decision reviewed by the Supreme

Court in Samantar—was subsequently decided by the Fourth Circuit in 2009. 552 F.3d 371 (4th

Cir. 2009) (“Yousuf I”). Despite Broidy’s contention that Samantar and Butters address the same

issue, the Fourth Circuit did not even mention Butters in its decision, see generally id., even though

it would have been bound by Butters if it was, as Broidy contends, addressing the same question.

See Warfaa v. Ali, 811 F.3d 653, 661 (4th Cir. 2016) (declining to overrule Yousuf v. Samantar,

699 F.3d 763 (4th Cir. 2012) (“Yousuf II”) because “[o]ne panel’s decision is binding, not only

upon the district court, but also upon another panel of this court—unless and until it is

reconsidered en banc” (internal quotation omitted)). In fact, the Fourth Circuit determined in

Yousuf I that whether the FSIA applies directly to individuals was “still an open question in the

Fourth Circuit.” 522 F.3d at 378. Therefore, the Supreme Court’s affirmance of Yousuf I in

Samantar could not preclude application of derivative foreign sovereign immunity as recognized

in Butters, Alicog, and similar cases.2




2
  The limited case law applying the doctrine of derivative foreign sovereign immunity—
particularly in this jurisdiction—is understandable for at least two reasons. First, there simply are
not many instances where individuals working on behalf of foreign governments have faced legal
action in the United States for the actions they were allegedly directed to perform by the foreign
sovereign. Thus, the doctrine is rarely invoked. See Samantar, 560 U.S. at 323 & n.18. Second,
the majority of jurisdictions pre-Samantar, including the D.C. Circuit, read the FSIA as extending
immunity directly to individuals. See, e.g., Belhas v. Ya’alon, 515 F.3d 1279, 1283 (D.C. Cir.
2008); Chuidian, 912 F.2d at 1103. Because individuals subject to suit in those jurisdictions were
believed to be directly entitled to statutory immunity, there was no cause for litigants to invoke the
common law.
                                                  8
       Courts’ subsequent treatment of Butters also confirms its continued vitality. On remand,

the Fourth Circuit determined that Samantar was not entitled to foreign official immunity. Yousuf

II, 699 F.3d at 766. Once again, the Fourth Circuit did not reference its decision in Butters. See

generally id. In fact, at no point on its lengthy trip through the federal court system did Samantar

address the doctrine of derivative foreign sovereign immunity. And several courts—including the

Fourth Circuit just last year—have continued to cite Butters as authority for derivative sovereign

immunity. See, e.g., Cunningham v. Gen. Dynamics Info. Tech., Inc., 888 F.3d 640, 643 (4th Cir.

2018) (citing Butters in holding that “agents of the sovereign are also sometimes protected from

liability for carrying out the sovereign’s will”); Ivey, 2018 WL 3764264, at *7 (party whose

“conduct relevant to this action was at the direction of” foreign official derivatively immune from

suit); Moriah v. Bank of China Ltd., 107 F. Supp. 3d 272, 278 (S.D.N.Y. 2015) (agent immune for

task performed “solely because the National Security Advisor made [the] request”). No court has

rejected Butters’ analysis or otherwise found it to be overruled. The bottom line, then, is that

Butters, Alicog, and the other cases applying derivative foreign sovereign immunity remain good

law, and Broidy has nothing to say about them.3




3
  Although Broidy disputes that Qatar is immune under the FSIA, he does not address the merits
of those arguments in his Opposition. See Opp. at 31 n.143. Instead, he contends that the Central
District of California’s finding of immunity is not preclusive because that decision is on appeal,
and that this Court should refrain from dismissing the case on derivative sovereign immunity
grounds until the Ninth Circuit rules on Qatar’s immunity. See id. As explained in Defendants’
opening brief, Opening Br. at 13-14, the Central District’s decision is preclusive, and on that basis,
this case can be dismissed. However, should there exist any question about Qatar’s immunity,
Defendants have no objection to staying this case until the Ninth Circuit has decided Broidy’s
appeal. See id. To be clear, however, Defendants object—as Broidy seems to suggest—to simply
holding this motion in abeyance while the case continues into discovery.
                                                  9
        B.     Foreign Official Immunity Applies to Foreign Officials Acting in Their Official
               Capacity.

        While ignoring Butters and the doctrine of derivative sovereign immunity, Broidy attacks

a straw man. According to Broidy, the D.C. Circuit’s Lewis decision establishes that foreign

official immunity is the only common law doctrine of individual foreign sovereign immunity and

therefore controls this case. Opp. at 40. But Lewis does no such thing and does not even apply.

        The common law doctrine of foreign official immunity is a separate and distinct basis for

public ministers, officials, and formal agents of foreign sovereigns to obtain immunity for actions

taken in their official capacities. As explained supra, the Supreme Court in Samantar clarified

that foreign officials are not “foreign states” entitled to direct immunity under the FSIA, as many

courts had previously found. 560 U.S. at 320. But the Court expressly stated that its holding did

not disturb common law immunity doctrines, including foreign official immunity. Id. at 321 &

n.16.

        Lewis addressed a post-Samantar claim of immunity under the foreign official immunity

doctrine. The plaintiff brought a lawsuit under the Torture Victim Protection Act of 1991

(“TVPA”), Pub. L. 102–256, 106 Stat. 73 (1992), against two foreign officials from the

Democratic Republic of Congo (“DRC”) for alleged torture. Lewis, 918 F.3d at 144. With respect

to so-called conduct-based immunity for foreign officials acting in their official capacities—as

opposed to status-based immunity—the court explained that a two-step procedure is used to

determine whether a foreign official is immune. Id. “At the first step, a foreign official requests

a ‘suggestion of immunity’ from the State Department and, if granted, the District Court is divested

of its jurisdiction.” Id. at 145. If, however, “the State Department does not grant a suggestion of

immunity, the District Court is authorized to decide whether all the requisites for foreign-official

immunity exist.” Id. at 145-46. Because the State Department did not respond to the DRC’s


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repeated requests for a statement of immunity, the Lewis court proceeded to analyze the

defendants’ immunity under Step 2 and found that they were not immune. Id. at 146.

       As explained in more detail below, see infra § III.B, the Lewis court did not adopt the three-

factor test for Step 2 that Broidy advocates here and in fact, expressed significant skepticism about

that test. But regardless of what factors comprise the judicial test for foreign official immunity,

nothing in Lewis—or any other case in this jurisdiction—forecloses the application of derivative

sovereign immunity here.       The court never addressed derivative sovereign immunity for

contractors and private agents acting at the specific direction of the sovereign at all. Nor did it

hold that foreign official immunity is the only common law immunity doctrine still in effect after

Samantar. In fact, the Samantar Court itself contemplated that there are other bases upon which

an individual might enjoy foreign sovereign immunity. Samantar, 560 U.S. at 321 (“[I]mmunity

of individual officials is subject to a caveat not applicable to any of the other entities or persons

to which the foreign state’s immunity extends.” (emphasis added)).

       It is true that courts occasionally use the terms “derivative sovereign immunity” and

“foreign official immunity” interchangeably. See, e.g., Moriah, 107 F. Supp. 3d at 276-77; Ivey,

2018 WL 3764264, at *6-7. But such imprecise language does not change the fact that important

differences remain between the two doctrines that demonstrate why each remains a viable basis

for determining immunity in a given case. See 1 Litigation of International Disputes in U.S. Courts

§ 3:59 (describing both derivative sovereign immunity and foreign official immunity as good law

post-Samantar and explaining that “‘[d]erivative immunity’ may extend to private persons acting

under the direction of the foreign sovereign”).

       The main difference between the two doctrines is the importance of a foundational finding

that the sovereign state itself is in fact entitled to immunity. Derivative sovereign immunity is



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coterminous with the immunity enjoyed by the sovereign. Thus, it can only apply in cases where

the sovereign itself is immune from suit, and it is limited to actions taken at the direction of the

sovereign. See Butters, 225 F.3d at 466 (“If Vance was following Saudi Arabia’s orders not to

promote Butters, Vance would be entitled to derivative immunity under the FSIA.”); see also Al

Shimari v. CACI Premier Tech., Inc., 368 F. Supp. 3d 935, 970 (E.D. Va. 2019) (finding no

derivative sovereign immunity where sovereign itself was not immune); Ruddell, 2016 WL

4529951, at *5 (“Put simply, a contractor cannot claim a derivative immunity that exceeds the

immunity of the sovereign.”).

        Foreign official immunity, on the other hand, is not necessarily coextensive with the state’s

immunity and can exist even in cases where the sovereign is not immune. In fact, that distinction

was a primary reason for the Supreme Court’s holding that the FSIA could not have been intended

to codify the doctrine of foreign official immunity. See Samantar, 560 U.S. at 321-22 (noting that

officials can be immune when the sovereign is not, thus state and official immunities are not

coextensive, rather “the immunity of individual officials is subject to a caveat not applicable to

any of the other entities or persons to which the foreign state’s immunity extends” (emphasis

added)); see also Greenspan v. Crosbie, No. 74-4734, 1976 WL 841 (S.D.N.Y. Nov. 23, 1976)

(State Department issued declaration of immunity as to individual officers, but not to the province

itself in case involving allegations of securities fraud).

        Moreover, derivative sovereign immunity does not apply to the discretionary actions of

contractors and private agents. “[T]he contractor must adhere to the government’s instructions to

enjoy derivative sovereign immunity; staying within the thematic umbrella of the work that the

government authorized is not enough to render the contractor’s activities ‘the act[s] of the

government.’” In re KBR, Inc., Burn Pit Litig., 744 F.3d 326, 345 (4th Cir. 2014) (quoting



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Yearsley, 309 U.S. at 22). Foreign official immunity, on the other hand, asks only whether the

official was acting in an official capacity and within the scope of his or her authority. See, e.g.,

Eliahu v. Jewish Agency for Isr., 919 F.3d 709, 713 (2d Cir. 2019) (noting that even an official’s

erroneous exercise of power is protected, only acts taken in the absence of delegated authority fall

outside doctrine’s scope); Smith v. Ghana Comm. Bank, Ltd., No. 10-4655, 2012 WL 2930462, at

*10 (D. Minn. June 18, 2012) (finding Ghanaian Attorney General to be immune from suit for acts

taken in his official capacity because exercising jurisdiction would interfere with his substantial

discretion). Thus, foreign official immunity can be applied to immunize actors who retained

significant discretion to act precisely because they were acting as foreign officials.

        Finally, derivative foreign sovereign immunity advances different policy interests than

those motivating foreign official immunity. In particular, derivative foreign sovereign immunity

protects the sovereign’s ability to carry out its goals by ensuring that individuals—including

private actors like Defendants here—alleged to have acted at the express direction of a foreign

sovereign have immunity regardless of the formalities of the actors’ official role. See 1 Litigation

of International Disputes in U.S. Courts § 3:59. As the Fourth Circuit explained, “[a]ll sovereigns

need flexibility to hire private agents to aid them in conducting their governmental functions.”

Butters, 225 F.3d at 466 (emphasis added). And that flexibility should not be limited in any way

when the private actors are following the sovereign’s orders such that they are acting as the

sovereign itself. See id.

        A foreign sovereign’s immunity from suit would be nullified if the contractors or private

agents who allegedly carry out its wishes could be sued for the foreign sovereign’s directions and

decisions. Cf. Belhas, 515 F.3d at 1286 (“Every act committed by a sovereign government is

carried out by its officials and agents,” thus “it is difficult to say how [a state] c[an] act within its



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immunity without being able to extend that immunity to the individual officials who acted on its

behalf.”); Chuidian, 912 F.2d at 1102 (“The rule that foreign states can be sued only pursuant to

the specific provisions of [the FSIA] would be vitiated if litigants could avoid immunity simply

by recasting the form of their pleadings.”). Indeed, that is the case here. At bottom, Broidy alleges

that Qatar used intelligence tradecraft to carry out an espionage and foreign policy campaign aimed

at alleviating a diplomatic crisis and related trade embargo. Cf. MacArthur Area Citizens Ass’n v.

Republic of Peru, 809 F.2d 918, 922 (D.C. Cir. 1987) (recognizing importance of immunity for

“decisions grounded in social, economic, and political policy”). If Defendants are not immune,

Qatar will, in all practical respects, be on trial and subject to discovery for its immune and

quintessentially governmental actions. Foreign sovereign immunity is meant to “give foreign

states and their instrumentalities some protection from the inconvenience of suit as a gesture of

comity between the United States and other sovereigns.” Dole Food Co., 538 U.S. at 479. Failing

to give adequate protections for the policy decisions of foreign nations renders the United States’

agents vulnerable to similar exposure in foreign courts. See, e.g., Persinger v. Islamic Republic of

Iran, 729 F.2d 835, 841 (D.C. Cir. 1984).

II.    THE CASE SHOULD BE DISMISSED IN ITS ENTIRETY                   UNDER THE      DOCTRINE     OF
       DERIVATIVE FOREIGN SOVEREIGN IMMUNITY.

       As detailed in the Stonington Defendants’ opening brief, the Defendants should be

dismissed with prejudice under the doctrine of derivative sovereign immunity. Opening Br. at 20-

25. At no point does Broidy argue that Defendants fail the test for derivative sovereign immunity.

That is because Broidy does not—and cannot—seriously dispute that pursuant to his own

allegations, Defendants were at all times contractors and/or private agents of Qatar acting at

Qatar’s direction. Indeed, Broidy does not even seek jurisdictional discovery to demonstrate

otherwise.


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       Therefore, while Broidy (erroneously) claims that Defendants bear the burden to establish

immunity, Opp. at 27, it is irrelevant.          “[T]he party invoking federal jurisdiction bears

the burden of establishing it.” Doe I v. Buratai, 318 F. Supp. 3d 218, 226 (D.C. Cir. 2018). That

is, Broidy bears the initial burden of pleading facts sufficient to demonstrate that this Court has

jurisdiction over his claim, and that Defendants are not immune from suit. Agudas Chasidei

Chabad of U.S. v. Russian Fed’n, 528 F.3d 934, 940 (D.C. Cir. 2008) (“[T]o the extent that

jurisdiction depends on particular factual propositions . . . the plaintiff must, on a challenge by the

defendant, present adequate supporting evidence.”). Because Broidy has failed to do so here, that

is the end of the matter. Broidy carefully chose to plead this case in the manner that he did—the

operative complaint is the fifth one he has filed on these issues. The natural consequence of

Broidy’s allegations is that Defendants are entitled to derivative sovereign immunity.

III.   EVEN IF THIS COURT DOES NOT APPLY DERIVATIVE SOVEREIGN IMMUNITY,
       DEFENDANTS ARE ENTITLED TO FOREIGN OFFICIAL IMMUNITY.

       Even if this case is analyzed under the foreign official immunity doctrine, dismissal is

appropriate.4 First, foreign official immunity can apply to American citizens acting as foreign

agents. Second, in light of Lewis’s skepticism regarding the application of § 66 of the Restatement

of Foreign Relations, this Court should apply the two-factor foreign official immunity test

preferred by the State Department. Third, Defendants plainly satisfy that two-factor test because

they are alleged to be agents of Qatar acting at Qatar’s direction. Finally, even if this Court were

to apply § 66, Defendants would still be immune because they also satisfy the third factor.




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  No party has requested a suggestion of immunity from the State Department, so this Court is free
to analyze the applicability of the foreign official immunity doctrine under common law principles.
See Lewis, 918 F.3d at 146.
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       A.      Foreign Official Immunity Can Apply to U.S. Citizens Acting as Agents of a
               Foreign Sovereign.

       Broidy’s contention that Defendants’ U.S. citizenship renders them ineligible for foreign

official immunity is simply wrong. No court has held that foreign citizenship is an element of

foreign official immunity. And the single, nonbinding, unpublished district court case that Broidy

cites is neither well-reasoned for the point Broidy cites nor factually comparable to the present

case. See ABI Jaoudi & Azar Trading Corp. v. Cigna Worldwide Ins. Co., No. 91-6785, 2016 WL

3959078 (E.D. Pa. July 22, 2016).

       As an initial matter, ABI is a derivative sovereign immunity case and thus is directly

contrary to Butters, Alicog, and Ivey and has no bearing on whether foreign official immunity can

be extended to U.S. citizens. Moreover, ABI involved a team of lawyers—including an American

lawyer living abroad—who appointed and directed a Libyan receiver to execute a judgment in

contravention of a court order. Id. at *15. Fighting contempt citations, the defendants claimed

derivative immunity by virtue of their relationship with the receiver, which was—itself—not found

to be immune. Id. at *17.      Unlike the present case where Broidy alleges that Qatar hired the

defendants to take specific actions to rehabilitate its diplomatic relations, the ABI court found that

the defendants hired the Liberian receivers “to further their own private interests” and could not

“claim as their own any sovereign immunity to which the Receivers may be entitled.” Id. at *15.

ABI thus could not be more factually distinct and does not preclude a finding that Defendants are

entitled to foreign official immunity.5


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  Broidy also completely mischaracterizes this Court’s decision in Buratai. See Opp. at 32. The
quoted language applies to the conclusion that no jus cogens exception should apply to the torture
claims in that case. See Buratai, 318 F. Supp. 3d at 236 (“The executive branch’s position on a
jus cogens exception therefore weighs heavily against the Court adopting an exception on its own,
much less crafting the contours of an exception without an established executive branch policy
from which to draw.”). And Broidy omits key aspects of Yousuf II. There, the Fourth Circuit
relied on the State Department’s findings that Samantar was a U.S. citizen and that Samantar “is
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        B.      If There Was Any Need To Apply Foreign Official Immunity, the State
                Department’s Two-Factor Test Should Apply, Not the Restatement’s Three-
                Factor Test.

        Broidy’s argument that Defendants otherwise fail to satisfy the test for foreign official

immunity is based on his erroneous assumption that Lewis adopted the three-factor test for

immunity established in § 66 of the Restatement of Foreign Relations. In fact, the D.C. Circuit

did not determine which factors must be satisfied to find foreign official immunity and questioned

the application of § 66. In light of the D.C. Circuit’s skepticism, and given substantial authority

supporting a two-factor test that applies only the first two elements of § 66, this Court should adopt

the two-factor test here if it applies this doctrine.

        As the D.C. Circuit pointed out, “[t]he Supreme Court has ‘expressed no view on whether

. . . § 66 correctly sets out the scope of the common-law immunity applicable to current or former

foreign officials.’” Lewis, 918 F.3d at 145 (quoting Samantar, 560 U.S. at 321 n.15). The test

adopted in § 66 requires that: (1) the actor is a public minister, official, or agent of the foreign

state; (2) the acts were performed in his or her official capacity; and (3) exercising jurisdiction

would serve to enforce a rule of law against the foreign state. Id. at 146 (citing § 66(f)). It was

only because “both parties assume[d] § 66 accurately sets out the scope of common-law immunity

for current or former officials,” that the Lewis court “proceed[ed] on that understanding without

deciding the issue.” Id. (emphasis added). And under that test, the court found that the defendants

lacked immunity. Id. at 147.




a former official of a state with no currently recognized government to request immunity on his
behalf” or to take a position as to “whether the acts in question were taken in an official capacity.”
699 F.3d at 777. Regardless, to the extent the State Department’s position is that U.S. citizens
“ordinarily should be subject to the jurisdiction of the [U.S.] courts,” see id. (emphasis added),
that is not the case here, where Defendants were acting at the direction of the foreign sovereign.
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       Judges Randolph and Srinivasan each concurred in the judgment under the assumption that

§ 66 applied, but neither found that it is the proper standard. Id. at 142. Judge Randolph expressed

serious reservations about § 66, noting that the Restatement “does not pretend to be a statement of

‘common law,’” but is rather “a distillation of scant case law in this country, international treaties

to which the United States may or may not be a party, the writings of law professors here and

abroad, negotiated settlements of international disputes, and other non-judicial sources.” Id. at

149. In addition, had any of the parties argued that the TVPA superseded foreign official

immunity—as they “should have”—Judges Randolph and Srinivasan would have agreed. Id. at

148-49. In other words, despite having the issue directly before them, not a single judge on the

Lewis panel held that § 66 establishes the appropriate test for foreign official immunity.

       Thus, although Broidy relies entirely on Lewis in arguing that § 66 applies to foreign

official immunity, that case in fact says very little about what factors apply. Meanwhile, the weight

of authority is that foreign official immunity is determined by a two-factor test comprised of only

the first two elements of § 66—whether the defendant is a public official, and whether he or she

acted in his or her official capacity. Indeed, even Lewis—which turned on the application of the

third element of § 66—relied upon cases that did not apply the three-factor test. See Matar v.

Dichter, 563 F.3d 9, 14 (2d Cir. 2009) (referencing § 66 but only for the proposition that “the

common law of foreign sovereign immunity recognized an individual official’s entitlement to

immunity for ‘acts performed in his official capacity’”); Yousuf II, 699 F.3d at 775 (“[A] foreign

official may assert immunity for official acts performed within the scope of his duty, but not for

private acts where ‘the officer purports to act as an individual and not as an official, [such that] a

suit directed against that action is not a suit against the sovereign.’” (quoting Chuidian, 912 F.2d

at 1106)). Various other cases considering foreign official immunity also apply the two-factor test.



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See, e.g., Eliahu, 919 F.3d at 712; Farhang v. Indian Inst. of Tech., 655 F. App’x 569, 571 (9th

Cir. 2016); Dogan v. Barak, No. 15-813, 2016 WL 6024416, at *9 (C.D. Cal. Oct. 13, 2016).6

Furthermore, the State Department—whose analysis, in the absence of a Suggestion of Immunity,

courts seek to replicate—applies a two-factor test with regard to foreign official immunity and

does not follow the Restatement. See, e.g., Rosenberg et al. v. Lashkar-E-Taiba et al., Civ. No.

1:10-cv-05381-DLI-CLP (E.D.N.Y. Dec. 17, 2012), ECF No. 35 at 10-11 (analyzing only whether

the directors general of a Pakistani intelligence service were acting within the scope of their

authority with respect to terrorist attacks in Mumbai, with no analysis regarding whether exercising

jurisdiction would have the effect of enforcing a rule of law against Pakistan). Therefore, to the

extent this Court finds that the doctrine of foreign official immunity applies here, it should apply

the two-factor test adopted by these various courts and the State Department itself, rather than the

three-factor § 66 test that the D.C. Circuit refused to adopt and seriously questioned in Lewis.

       C.      Pursuant to Broidy’s Own Allegations, Defendants Satisfy the Two-Factor
               Test for Foreign Official Immunity.

       Broidy does not seriously dispute that Defendants satisfy the correct two-factor test for

foreign official immunity. See Opp. at 34 n.149 (“While defendants fail to establish that they were

acting within the scope of their authority as agents of Qatar, the court can assume, for purposes of

argument, that the defendants satisfy that standard here.”). Nor could he. Despite its name, the

foreign official immunity doctrine applies to both officials and agents of a foreign sovereign. See

Matar, 536 F.3d at 14. And as long as the agent was acting in his or her official capacity, immunity

applies. See id.


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  This Court applied § 66 in Burutai based on its invocation by the defendants, the Lewis district
court decision, and Samantar’s comment that § 66 is “instructive.” Doe 1 v. Burutai, 318 F. Supp.
3d 218, 230 n.5 (D.D.C. 2018). As the D.C. Circuit explained, however, the parties in Lewis
simply assumed the application of § 66, and the court expressed skepticism about its viability.
Lewis, 918 F.3d at 146.
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       As detailed in the Stonington Defendants’ opening brief, Broidy affirmatively alleges in

his amended complaint that all defendants were agents of Qatar. See Opening Br. at 21-22. And

again, Broidy also alleges—as he must to substantiate his theory that Defendants participated in a

Qatari-backed hacking conspiracy—that Defendants were acting within the scope of their authority

in carrying out the complained-of actions. See id. at 23-25. In other words, Broidy has “pleaded

[himself] out of court.” Belhaus, 515 F.3d at 1284. His “complaint identifies nothing that

[Defendants are] alleged to have done in an individual capacity” and Defendants’ “personal

liability . . . seems to be entirely based on the proposition that the ‘[D]efendant[s], acting singly

and in concert with others,’ conducted a [cyberespionage] operation which was rather plainly on

behalf of the state of [Qatar].” Id. Accordingly, Defendants would also be entitled to foreign

official immunity.

       D.      Even If § 66 of the Restatement Applies, Defendants Satisfy the Third Factor.

       Broidy’s argument against the application of foreign official immunity to Defendants

focuses on the third factor of § 66, i.e., whether exercising jurisdiction over Defendants would

have the effect of enforcing a rule of law against Qatar. See Opp. at 34-36. But even if this Court

applies the doctrine of foreign official immunity instead of derivative sovereign immunity, and

applies § 66’s three-factor test—and it should do neither—Defendants satisfy this third factor.

Broidy argues that because a judgment in this case would not result in money being paid

“direct[ly]” from Qatar’s coffers or force Qatar to take some specific action, it cannot be

tantamount to enforcing a rule of law against Qatar. Opp. at 34-35 & n.150. The Lewis decision,

however, is not so narrow, and even if it was, allowing this case to go forward will necessarily

result in the application of rules of law against Qatar.

       Lewis found that if § 66 is the proper standard for foreign official immunity, the third factor

cannot be satisfied merely by showing that the official or agent acted within the scope of his or her
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authority; to find otherwise would render the third factor superfluous. Id. at 146. Thus, the court

rejected the argument that the DRC’s conduct was at issue simply because the officials were acting

in their official capacity when they allegedly tortured the plaintiff. Id.; see also Lewis, 258 F.

Supp. 3d at 174. The court then, “through the lens of the small number of decisions speaking to

the existence and scope of common-law immunity,” provided examples of situations that would

satisfy the third factor. Lewis, 258 F. Supp. 3d at 146 (factor would be satisfied when a judgment

would bind or be enforceable against the foreign state); see also id. at 147 (factor would be satisfied

where plaintiff seeks to draw on foreign state’s treasury or force the state to take a specific action);

id. (factor would be satisfied where state is the real party in interest). Nothing in the opinion

suggests that the court intended for those examples to constitute the universe of scenarios that are

“tantamount to enforcing a rule of law against [the sovereign].” Id. at 146.

        As such, Lewis did not purport to—and did not—overrule this Court’s analysis of the third

factor in Burutai. See Opp. n.150. There, the Nigerian official defendants were alleged to have

engaged in violent conduct against plaintiffs in violation of the TVPA and Alien Tort Statute.

Burutai, 318 F. Supp. 3d at 222-23. After finding that the officials satisfied the first two factors

of § 66, this Court then found that they satisfied the third factor not only because “[t]he Nigerian

government claimed the defendants’ actions as the country’s own,” but because “the plaintiffs

s[ought] millions of dollars in compensatory and punitive damages from defendants throughout

Nigeria’s government, military, and police,” and “[a] decision by this Court exacting such damages

would affect how Nigeria’s government, military, and police function, regardless whether the

damages come from the defendants’ own wallets or Nigeria’s coffers.” Id. at 233. That is, “[b]y

interfering with Nigeria’s government, a decision would effectively enforce a rule of law against

Nigeria.” Id.



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        Under any reading of Lewis and Burutai, Defendants here satisfy the third factor of § 66.

Allowing this case to go forward will require Qatar to take specific actions and incur associated

expenses to protect its interests in litigation, which is precisely the result that the FSIA is intended

to avoid. See Belhas, 515 F.3d at 1286 (“[A] purpose of foreign sovereign immunity is to give

foreign states and their instrumentalities some protection from the inconvenience of suit as a

gesture of comity between the United States and other sovereigns.” (internal quotation omitted));

Foremost-McKesson, Inc. v. Islamic Republic of Iran, 905 F.2d 438, 449 (D.C. Cir. 1990) (foreign

sovereign “immunity involves protection from suit, not merely a defense to liability”).

        It is beyond question that Broidy brought this (third) suit “to gain information regarding

the [Qatari] government’s actions and decisions” and “the information that [he] hope[s] to obtain

from [discovery] relates solely to ‘political acts’ that implicate [Qatar’s] diplomatic relations with

other nations.” Moriah, 107 F. Supp. 3d at 280. Though it has been dismissed on the grounds of

sovereign immunity, Broidy continues to allege that Qatar—purportedly the leading member of a

“Qatari enterprise”—masterminded, bankrolled, and directed a campaign to smear Broidy’s

personal and professional reputation by commissioning the hack and distribution of private

materials. This cyberespionage campaign was carried out—Broidy alleges—to discredit a vocal

critic in the hope of alleviating sanctions imposed on Qatar by other nations.

        Thus, though he claims that he is bringing this case against Defendants in their personal

capacities for private actions they allegedly undertook, it is plain that this case continues to center

on Qatar’s actions, and Qatar is truly the party in interest. If this case is allowed to proceed, the

Court will of course be asked to rule on the legality of Qatar’s actions notwithstanding the fact that

“the ‘rationale for sovereign immunity is the avoidance of possible embarrassment to those

responsible for the conduct of the nation’s foreign relations . . . .’” Id. (quoting Heaney v. Gov’t



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of Spain, 445 F.2d 501, 503 (2d Cir. 1971)). And while Broidy seeks direct damages only from

Defendants, exercising jurisdiction here will necessarily affect Qatar’s fiscal decisions with respect

to the hiring of contractors and agents to advance its interests in the United States. See Burutai,

318 F. Supp. 3d at 233.

       Finally, allowing this case to proceed will also directly affect Qatar in that it will be

required to monitor, participate in, and object to discovery in accordance with the rules of

procedure governing actions in this Court. In fact, this suit has already caused Qatar to incur

litigation expenses associated with responding to Broidy’s motion to clarify the application of the

California protective order to protect its sensitive, foreign-policy related information. Should this

litigation continue, Qatar will be compelled to engage in serious issues relating to the continued

protection of such information, either through a robust protective order or by litigation regarding

the appropriate scope of discovery in light of the Vienna Convention on Diplomatic Relations.

Such issues will touch on vast amounts of information that could be subject to discovery such that

Qatar will be, for all intents and purposes, a party. Thus, the defendants are entitled to foreign

official immunity even under § 66.

                                          CONCLUSION

       For the reasons stated herein, and for the reasons in Defendants’ opening briefs and the

Rule 12(b)(6) reply brief filed contemporaneously herewith, the Court should dismiss this case

with prejudice.




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Dated: June 18, 2019                            Respectfully submitted,


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                                           24
                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Reply Memorandum of Law in Support of Motion to

Dismiss the First Amended Complaint on Immunity Grounds was electronically filed this 18th day

of June 2019 and will be served on all parties via the Court’s electronic filing system.


                                                      Respectfully submitted,
                                                      /s/ Stephen J. Obermeier
                                                      Stephen J. Obermeier




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